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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

APRIL CARROLL, as administrator    )
of the ESTATE OF KEVIN CARROLL and )
in her own right,                  )
                                   )
                     Plaintiff,    )
v.                                 )                  2:21cv1298
                                   )                  Electronic Filing
COMPREHENSIVE HEALTHCARE           )
MANAGEMENT SERVICES, LLC           )
doing business as BRIGHTON         )
REHABILITATION AND WELLNESS        )
CENTER, HEALTHCARE SERVICES )
GROUP, INC., HCSG LABOR SUPPLY, )
LLC, HCSG SUPPLY, INC., HCSG       )
STAFF LEASING SOLUTIONS, LLC, )
BRIAN EDWARD MEJIA,                )
                                   )
                     Defendants.   )


                                   MEMORANDUM ORDER

       AND NOW, this 18th day of July, 2022, upon due consideration of defendant

Comprehensive Healthcare Management Services, LLC's motion to vacate notice of voluntary

dismissal and plaintiff's opposition thereto, IT IS ORDERED that [39] the motion be, and the

same hereby is, denied.

       As aptly noted by plaintiff, she has an unfettered right to effectuate the dismissal

challenged by this motion. And because the court has not entered a judgment on any aspect of

plaintiff's claims, Rule 60(b) is inapplicable and defendant's invocation of that rule is misplaced.


                                                      s/David Stewart Cercone
                                                      David Stewart Cercone
                                                      Senior United States District Judge
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cc:   David L. Kwass, Esquire
      Elizabeth Bailey, Esquire
      Robert J. Mongeluzzi, Esquire
      Andrew G. Kimball, Esquire
      Erica Kelly Curren, Esquire
      Jennifer M. Swistak, Esquire
      John M. Campbell, Esquire



      (Via CM/ECF Electronic Mail)


      Civil Action No. 21-1298
      District Judge David S. Cercone
      Magistrate Judge Maureen P. Kelly




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